         Case 1:21-cr-00166-TFH Document 35 Filed 10/08/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :      Case No. 21-cr-166 (TFH)
                                              :
ROBERT MAURICE REEDER,                        :
                                              :
                      Defendant.              :




                   NOTICE OF FILING A SUPPLEMENTAL EXHIBIT

       The United States of America hereby submits the attached document as Exhibit 1 to be

used at the Defendant’s sentencing hearing.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                       By: /s/ Joshua S. Rothstein
                                           Joshua S. Rothstein
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         Case 1:21-cr-00166-TFH Document 35 Filed 10/08/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

        I certify that, by virtue of the Court’s ECF system, a copy of the foregoing filing and
exhibits were sent to defense counsel on October 8, 2021.


                                                   /s/ Joshua S. Rothstein
                                                   Joshua S. Rothstein
                                                   Assistant United States Attorney
